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U,S. D|STR|CT COURT - N.D. OF N,\'.
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UNITEI) sTATEs DISTRICT coURT _
NORTHERN msTRICT oF NEW YORK SF_P - h 2015

cHARLEs cRABLE, ) M across

) Lawrence !K_ Baerman, Clerk - S¥racuse
Plaimiff, )

)
v. ) Civil Case No.:

) r » _ w 3
PREMIER BATHS, n~IC. ) O° 15 01 |O@L| [@i$ ATB
d/bra PREMIER cARE m BATHJNG, and )
BILL KELLY, )

)
Defendants. )

 

COMPLAINT AND JURY DEMAND

 

Plar`ntiH`, Charles Crable, appearing pro se, alleges as follows:
I. JURISDICTION

1. This is a civil action seeking damages Jurisdiction is conferred on this Court by
the Fair labor Standards Act, 29 U.S.C. § 201, et seq. and 28 U.S.C. §§ 1331, 1337, and
1350. Venue is proper in the Northem District of New York because a substantial part of
the events giving rise to the Plaintiti’s claims occurred in this district

II. PARTIES

2. At all relevant times, Plaintiff Charles Crable, was and is a resident of Cortland
County in the State of New York.

3. At all relevant times, Defendant Premjer Care in Bathing (“Premier”) is a Flon`da
corporation employing more than 25 people. Premier was, at all relevant times, licensed
to do business, and was and is doing business, by virtue of the laws of the State of New

York, and in Cortland and all counties in the State of New York.

 

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4. At all relevant times, Defendant Bill Kelly was and is a resident of the Statc of
Rhode Island.

I[I. FACTUAL ALLEGATIONS

5. Plaintiii° commenced employment as a sales representative with Defendant
Prernier on July 31, 2014. At all times during his employment with I)efcndant Prernier,
Plaintill` competently and diligently performed his duties. PlaintiB` was regularly
complimented verbally and in writing from Defendant Bill Kelly and Premier Vice
President Gary Reda for a job well done. Piaintiff won bonuses and awards from Premier
beginning the first month of employment Plairrtiff was terminated on October 17, 2014.

6. Premier required that Plaintiff work out of his own established home office to
work with Premier selling walk-in bathtubs to the aged and disabled There were
equipment requirements, such as a computer with Intemet connection, hardwired
telephone, long-distance telephone, fax machines, printer, and an iPhone to receive
messages and orders while in the field selling the walk-in bathtubs.

7. All appointments were made by Premier and were emailed or faxed to Plaintift"s
home office the night before the appointment Any changes or new instructions were
communicated from the company to Plaintiff. Plaintifi` was required to return to the same
appointment often three times or more. These orders were usually given by Defendant
Kelly, but occasionally others from Premier would call Plaintifi` to tell him where to drive
next if a change were necessary. Plaintiff was required to use his own vehicle to travel
from appointment to appointment

8. Only Prernier would contact the homeowner. Piaintit`f was forbidden from having

the ciient’s telephone number.

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9. Contrary to the promises made by Defendant Kelly, Plaintift` was required to drive
very far distances outside the described boundaries as described by Defendant Kelly.
Piaintiff was promised a maximum one-way boundary of 80 miles from Plaintiff’ s home
office The appointments all made by Premier and communicated to Plaintiii" primarily by
I)efendant Kelly were to be scheduled in and around central New York State.

lO. Unfortunately, from Pla_intiff`s home oii`ice, it was not unusual to be told to drive
120 miles or more. On one particular day, Plainti&` was required to drive a 400-mile
round trip. Both appointments were to old mobile homes.

ll. During training, which was held in Rhode Island for three days, Plaintifi` was
informed by another sales rep named Bobby that Defendant Kelly writes his own
business Moreover, Bobby stated that Ke}ly writes business in New Yorlc State.
Manager Bill Kelly only told Plaintiff he would travel to Texas for weeks at a time for
recrung and training Plainti{f began to ask questions

12. The main questions Plaintiff would ask occasionally is why there are no
appointments in or near the Plaintiff‘s home otiice area as promised 'l`his after the
Plaintiff had driven to each and every appointment required by Premier, most 100 miles
or more and, nonetheless, having a good measure of success.

13. The Plaintiff sold over $60,00'0 worth of business during his first month earning
more than $6,000 in commissions The records will show the actual addresses and
locations the Plaintiff had to drive. in spite of his success, the Plaintiff` noticed a pattern
with no appointments save one or two out of more than a total of 100 in his territory

including Bingharnton, Ithaca, and Cortland.

 

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14. Possessing a good background1 well educated, and formerly running his own
business, the Plaintiif understood the effect of charges made for false advertising The
client wanted the bath unit or perhaps just the information In September, suddenly most
of the appointments made by Premier and funneled through Manager Bill Kelly were of
very low quality. Many were in dilapidated mobile home parks or so far out with very
meager incomes and home values. But the company had to respond to the leads or risk
being accused of false advertising Mr. Crable never refused or complained but only
asked why none were in more lucrative areas like Ithaca, yet still made the drives.

15. A scheduler named Daniel at Premier informed the Plaintiff that Manager Bill
Kelly determines who gets what leads and reserving better leads for himself since he
continually does business in New York State.

16. ln spite of the Plaintif`f‘s immediate and continued success with Premier, he began
to realize why he was hired in the first place.

17 . It became clear that the Plaintiff was simply hired to run the leads that Manager
Bill Kelly did not want to take, i.e., the old mobile homes, rough neighborhoods, far
outlying areas and other low quality leads with little or no chance for a sale. The Plaintiff
was hired to protect Premier and address all the bad leads, contrary to the promise of
solid leads within 80 nriles.

18. The Plaintiff requested the original signed contract on several occasions including
in two emails. They were both ignored by manager Bill Kelly. The Plaintiif never
received the signed contract

19. The Plaintifl‘s commission schedule was dropped from 12 to 10 and from 7 to 5

lacking notice, with no explanation from Manager Bill Kelly. There were no complaints

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of any kind from Bill Kelly or Premier while the Plaintilf continued to do an outstanding
job.

20. Aga.in, the Plaintiff requested the signed contract which was never forwarded In
that email and subsequent telephone calls the Plaintitf told Bill Kelly that his actions and
those of Premier seemed illegal and contrary to any agreement Further, the Plaintiff
gathered information li‘om the New York State Department of Labor. That was
communicated to Bill Kelly on OCtober 16th, 2014.

21 . The next day, on October l'}', 2014, the Plaintiff was terminated The only notice
was the inability to log on to his appointments Plaintiff's funds were withheld totaling
over $5,000 for more than 7 months.

22. Vice President Gary Reda sent the letter with no explanation other than the fact
that the Plaintitt` was terminated and he would send the monies owed the Plainti&` upon
installation The units were already installed That never happened

23. If the Plaintitf had not complained to various agencies, there is no question that he
would have never gotten any of the money owed him. As it is there is still a balance of
more than $2,000 that they are again choosing to ignore, The Plaintiff complained to the
New York State Department of Labor, which investigated the Plaintilfs claim for
unemployment insurance That process took more than 5 months to complete Premier
did not cooperate with the Labor Department and chose to hold the Plaintift‘s funds 7
months until June of 2015. Some funds were never paid and are still owing Premier
demonstrated acts of continuous fraudulent behavior and disregard for the law.

24. Premier contested the ruling from the Department of Labor twice and was

rebulced each time. The ruling is that the Pla:intiff was a bona fide employee

 

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25. Fnrther, the Department of Labor concluded that Premier had not only broken

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' New York State law but federal laws as well.
26. On May 22nd, 2015, Premier Bath defaulted on the hearing before Administrative
Judge Steven Kittleman. Premier was provided an extra 45 days to lobby the Appeal
Board. They never responded during that time name The time is now up.

2?. Premier obviously was hiding behind the "terminate at will” concept however the
‘never received' contract was deemed null and void as the Plaintiff Was clearly an
employee and not an Independent Contractor. Premier chose the illegal activity to not
pay unemployment fees, worker‘s compensation, FICA fees, IRS taxes, Social Security,
Medicare and other costs for the Plaintiff. The Plaintiff was left with paying all the taxes
and other costs as well. The Plaintiff was used by Premier Care in Bathing.

28. Premier Bath didn't want to play by the rules and expected to take an unfair
advantage over other companies by misclassifying the Plaintiff and perhaps others.

29. Misclassiiication is a very serious crime on both the federal and State level, some
company executives have gone to jail and paid lines. This case is no different other than

the fact that this was intentional and malicious, harming the Plaintiff very profoundly in

many ways. The Plaintiff lost many opportunities due to the illegal activities of Premier

 

Care in Bathing. Premier Care in Bathing knew they were breaking the law. Moreover,
the named defendants violated both federal and New York State public policy. The
Plaintiff‘s written request for a copy of the signed contract and explanation of the
commission reduction, absent any notification and Plaintifl’s subsequent appeal to the
New York State Labor Board, was met with clear and immediate retaliation Premier

Care in Bathing terminated the Plaintiff within 12 hours for asking relevant questions

 

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30. In New York State, the initial determination of unemployment can have the same
effect as an 'adverse audit,' once it is upheld by the administrative judge. 'l`his case was
upheld by the Administrative Judge, Steven Kittlernan on May 22, 2015 and again by
default of Premier Care in Bathing on July llth, 2015.

31. The Plaintiff is informed and believes he was singled out, misused and abused as
a lackey to carry out the work for Manager Bill Kelly in particular and Premier Bath in
general to protect their marketing and advertising interests Further, based upon so called
jokes by Manager Bill Kelly the Plaintiff is informed and believes that he was singled out
due to age and possibly ethnicity. Manager Bill Kelly is Caucasian and the Plaintiff is
African American.

32. The Plaintiff was gainfully employed and left his previous position to take the job
and promises offered by Premier Bath, Inc. and Manager Bill Kelly. Further, Plaintiff
informed Manager Bill Kelly, based upon his background, the job fits well and this could
be his last career. Bill Kelly stated the walk-in bath sale is “just a simple conversation”
with no traditional presentation or demonstration He also stated the Plaintiff could work
for Premier Care in Bathing for many years and was anxious to have him on board.

33. The Plaintiff's reputation has been irreparably damaged and he could not find
suitable employment A termination, for any reason or none, stays with one lifelong
The damage is profound.

34. Due to the difficult circumstances Premier Bath has put the Plaintiff into, the
embarrassment, lack of available hinds while bills came due and a certain reduction in

social stature has cause tremendous stress and Emotional Distress for the Plaintiff

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35. Premier Bath has shown itself not only to be wantonly lawless but capricious,

egregious, vile, corrupt and self-serving

IV. CAUSES OF AC'I`ION

ngr Labor Standards Aet (“FLSA”L
Failure to Pay Wages and Overtime Compensation

Against All Defendants

36. The foregoing paragraphs are incorporated herein as if set forth in full.

37, At all relevant times, Defendants have and continue to be “einployers” within the
meaning of the FLSA.

38. -At all times relevant herein, Defendants were responsible for paying wages to
Plaintiff

39. At all times relevant herein, Plaintili` was employed with Defendants as an
“employee” within the meaning of the FLSA.

40. Defendants’ violations of the FLSA include, but are not limited to, unlawfully
failing to pay hourly wages due to Plaintiff and unlawfully failing to pay overtime wages
due to Plaintiff.

41. Defendants’ conduct in failing to pay Plaintiff properly was willful and was not
based upon any reasonable interpretation of the law.

42. As a result of Defendants’ unlawful conduct, Plaintiff has suffered damages as set
forth herein

V. PRAYER FOR RELIEF
WHEREFORE, Plaintiff respectfully prays that this Court enters judgment against

Defendants, and each of them, for:

 

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a) Unpaicl minimum wages, overtime wages, penalties and interest;
b) Liquidated damages pursuant to the FLSA;

c) General, compensatory, and special damages;

d) Punitive damages;

e) Reasonable fees and costs;

f) Such other and further relief as the Court deems just and proper.

DATED: ?»/- /6_

 

 

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